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                        UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

MICHAEL DOGGETT                                  §
    Plaintiff,                                   §
                                                 §
VS.                                              §           CIVIL NO. 5:18-CV-00855-OLG
                                                 §
RINOK CORP. AND                                  §
TALGAT USMANOV,                                  §
     Defendants                                  §

                         JOINT STIPULATION OF DISMISSAL
                                 WITH PREJUDICE

       TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), all parties to this action enter this Joint

Stipulation of Dismissal With Prejudice, and notify the Court that all matters in controversy

between them have been compromised and settled by agreement, with all costs borne by the party

incurring same.

                                           AGREED AS TO FORM AND SUBSTANCE:

                                           BY:       /s/ L. Brent Farney
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